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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                 CASE NO.: 1:20-cv-20687- OTAZO-REYES

                                                 CONSENT CASE

   RICHARD BURGESS individually and
   by and through DARREN HENZE
   as Guardian of the Person and Estate
   of Richard Burgess, incapacitated and
   as agent under that certain durable power
   of attorney dated November 20, 2006.

           Plaintiff,
   v.
   ROYAL CARIBBEAN CRUISES LTD.,
   a Liberian Corporation, d/b/a
   ROYAL CARIBBEAN CRUISE LINE and/or
   ROYAL CARIBBEAN INTERNATIONAL.

         Defendants.
   _________________________________/


                             AMENDED JOINT PRETRIAL STIPULATION

           The Parties to this action, by and through their undersigned counsel, and pursuant to

   Local Rule of the Southern District of Florida 16.1(e), hereby file this Amended 1Joint Pretrial

   Stipulation pursuant to the Court’s Order Specially Setting Civil Jury Trial and Pretrial Schedule

   and Requiring Mediation [D.E. 73 & 81] and say:

   1. Statement of Case :

   Plaintiff’s Statement of the Case :

           This is a maritime action for negligence against Royal Caribbean Cruises Ltd. (“RCCL”).

   RCCL failed to provide former cruise passenger Richard Burgess with prompt emergency


   1
    The instant amended joint pretrial stipulation adds the alleged comparative negligence of Plaintiff Richard Burgess
   as an issue of fact to be litigated at trial. This is proposed only by the Defendant.



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   medical care and transport to the closest capable medical facility. Burgess suddenly started to

   suffer from a stroke aboard its cruise ship, the Harmony of the Seas, while it was docked in the

   Port of San Juan, Puerto Rico, on February 21, 2019. Plaintiff claims, and Defendant does not

   dispute, that a stroke is a medical emergency of the most urgent order because each minute that

   passes without treatment increases the likelihood of permanent brain tissue death. RCCL was

   negligent in responding to Burgess’s stroke. Specifically, RCCL: (i) failed to act with sufficient

   urgency in medically disembarking Burgess to a shoreside hospital after its shipboard medical

   staff had already determined he was suffering from a stroke; and (ii) further contributed to the

   delay in Burgess’s treatment by sending him to HIMA San Pablo Caguas Hospital when there

   were other hospitals significantly closer to the Port of San Juan capable of administering the

   medication he needed on an urgent basis to treat his stroke. As a result of the delay caused by

   RCCL, Burgess arrived at the hospital too late to receive critical treatment.      As a result of

   RCCL’s conduct, Burgess did not arrive at a hospital until more than four hours after the onset of

   his stroke symptoms, resulting in catastrophic injuries.

          Burgess suffered a stroke. Burgess suffered severe condition resulting in “locked-in

   syndrome,” a permanent condition where the patient is aware of his surroundings but cannot

   move or communicate verbally due to complete paralysis of nearly all voluntary muscles in the

   body. Burgess is now totally and permanently disabled. He cannot walk, cannot grasp things

   correctly with his hands, cannot bathe himself, cannot go to the bathroom on his own, unable to

   eat on his own, has a tracheostomy tube to open his airway for breathing, lacks control over his

   emotions which causes fits of laughter and crying spells, cannot recall things well, and speaks

   only in a garbled way.




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   Defendant’s Statement of the Case :

          Defendant contends that on February 21, 2019 the medical staff aboard the Harmony of

   the Seas appropriately responded to Plaintiff’s medical condition by immediately evaluating his

   condition, rendering a preliminary diagnosis, and contacting the local port agent to coordinate an

   emergency medical disembarkation from the vessel to the best shoreside hospital in Puerto Rico

   capable of further managing his care needs. Defendant disputes that the medical staff aboard the

   Harmony did not respond with sufficient urgency, and instead argues that Plaintiff was

   transferred from its vessel in the fastest and most efficient manner possible within the

   capabilities of the emergency response system in Puerto Rico. Additionally, Defendant contends

   that Plaintiff’s suggestion that there were closer or more appropriate hospitals available than

   HIMA Hospital on the date in question is entirely speculative as even Plaintiff’s own expert

   agrees that HIMA Hospital provided him with the best chance for the best possible outcome.

   Ultimately, Defendant contends that due to the nature of the Plaintiff’s underlying disease

   process his eventual outcome was unavoidable despite receiving the best possible care from the

   most qualified clinicians in Puerto Rico at HIMA Hospital.




      Basis of federal jurisdiction: The Court has jurisdiction based on diversity of citizenship, 28

   U.S.C. §1332 (contested by Defendant only), and the Admiralty jurisdiction of the Court, 28

   U.S.C. § 1333, and the forum selection clause contained in Plaintiff’s Passenger Ticket Contract

   issued by RCCL.

   2. Pleadings raising the issues:

          a. Second Amended Complaint of the Plaintiff [D.E. 48], dated November 20, 2020




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          b. RCCL’s Answer and Affirmative Defenses to Plaintiff’s Second Amended Complaint

             [D.E. 52], dated December 1, 2020

   3. List of all undisposed of motions or other matters requiring action by the Court:

          a. None.


   4. Uncontested facts which will require no proof at trial:

          a. For purposes of this litigation only, at the time of the incident, RCCL Harmony of the
             Seas was owned and operated by ROYAL CARIBBEAN CRUISES LTD.

          b. The Defendant Royal Caribbean Cruises Ltd. is now known as Royal Caribbean
             Group and is a corporation organized and existing under the laws of Liberia and
             based in Miami, Florida.

          c. At the time of the incident, the Plaintiff was a fare-paying passenger aboard RCCL
             Harmony of the Seas.

          d. The incident in this case happened on February 21, 2019.

          e. Federal subject matter jurisdiction arises under the laws of the United States under the
             General Maritime Law and accordingly under 28 U.S.C. § 1333.

          f. The Plaintiff has complied with all of the conditions precedent for bringing this action
             including but not limited to all condition’s precedent provided in the passenger
             contract ticket. This includes, but is not limited to, the requirement to provide notice
             of the claim within 180 days of the incident.

          g. For the documents provided by the Defendant RCCL listed below:

                   (1) The documents referenced below are authentic pursuant to and not subject to
                       objection under Fed. R. Evid. 901;

                   (2) The documents referenced below are the best evidence of the documents
                       produced by the Defendant pursuant to and not subject to objection under
                       Fed. R. Evid. 1002, 1003, and 1004;

                   (3) The documents referenced below are subject to the business record or
                       records of regularly conducted business activity exception to the rule against
                       hearsay pursuant to and not subject to objection under Fed. R. Evid. 803 (6).




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         DOCUMENTS PRODUCED BY ROYAL                                   Batestamp No.
           CARIBBEAN CRUISE LINE (RCCL)
   RCCL Gangway Activity for Darren Henze and Richard Burgess       GS000001
   RCCL Booking Confirmation – Guest Copy                           GS000002- GS000004
   RCCL Guest Ticket Booklet                                        GS000005-GS000023
   RCCL Guest Injury Statement                                      GS000024-GS000025
   RCCL Witness to Injury Statement                                 GS000026-GS000027
   RCCL photographs of cabin                                        GS000028-GS000030
   RCCL Case Summary- 4 pages with consent                          GS000031-GS000036
   RCCL Case Summary – 5 pages with Consent                         GS000037-GS0044
   RCCL Shoreside Referral                                          GS000045-GS000046
   RCCL Guest Landed Report                                         GS000047-GS000048
   RCCL Harmony of the Seas final statement with receipts           GS000049 – GS000080
   RCCL Personal Information for Darren Henze and Richard Burgess   GR000082-GR000083
   RCCL Seacare Shoreside Referral                                  GR000085-GR000086
   RCCL Email from medical secretary                                GR000087-GR000088
   RCCL Guest Landed Report with attachments                        GR000089-GR000108
   RCCL Employment Agreement – Dr. Joao Manuel Pereira              GR000110-GR000113
   RCCL Port Agent Agreement                                        GR000115-GR00142
   RCCL Employment Agreement – Dr. Michiel Adriaan Etsebeth         GR00014-GR000147
   RCCL Employment Agreement – Lilibeth Perez Rivera                GR000148-GR000151
   RCCL letter to Mary Brennar RN                                   GR000152-GR000153
   RCCL Job Description – Senior Doctor                             GR000155-GR000160
   RCCL Job Description – Senior Doctor                             GR000161-GR000165
   RCCL Job Description – Chief Nurse                               GR000167-GR000176
   RCCL Job Description – Title Nurse                               GR000177-GR000184
   RCCL CareTeam Manual                                             GR000186-GR000229
   Dr. Joao M. Periera personnel file                               GR000230 – GR000304
   Dr. Michiel Adriaan Estebeth personnel file                      GR000306- GR000392
   RCCL Credential SOP – Doctor and Nurses References and           GR000394-GR000410
   Requirements
   Medical RCL & Skysea, Chapter 14 – Emergency Medical             GR000412 – GR000421
   Disembarkation of Guest or crew
   RCCL AED Models & serial Numbers                                 GR000423 – GR000426
   RCCL Guest Injury Statement                                      GR000427 – GR000428
   Vikand Medical Equipment Inspection Testing and Calibration      GR000429-GR000444
   Worksheet
   RCCL Job Description – Medical Director                          GR000445-GR000446
   RCCL Employment Agreement with attachments – Michiel Adriaan     GR000447-GR000454
   Estebeth
   RCCL Employment Agreement with attachments – Joao Manuel         GR000457-GR000465
   Periera
   Medication – Richard Burgess                                     GR000467
   RCCL Harmony of the Seas Invoices & Receipts                     GR000469-GR000474
   RCCL Images of Medical Center                                    GR000476-GR000477



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   RCCL Medical – RCCL & Sky Sea (89) 12/20/2018 – Index Chapter        GR000479
   1-21
   RCCL Medical Operations – Emergency Medical Disembarks at Sea        GR000481 – GR000498
   RCCL blank forms: Critical Care Patient Handover Form, Crew          GR000500-GR000505
   Landed Medical Report, Guest Landed Report, USCG Medevac
   Check Sheet
   RCCL Uniform photograph                                              GR000507
   RCCL medical rooster with product code and product names             GR000509-GR000526
   RCCL Job Description – Medical Secretary                             GR000528-GR000532
   RCCL Job Description – Staff Captain                                 GR000533-GR000538
   RCCL Job Description – Master                                        GR000539-GR000545
   RCCL Deck Logs                                                       GR000546 – GR000658
   RCCL Situation Management Plan – Shipboard RCL – Chapter 2 –         GR000659 – GR000661
   Overview and Definitions (2.03 code words)
   RCCL Situation Management Plan – Shipboard RCL – Chapter 3 –         GR000662 – GR000665
   Response Procedures and Checklist (3.04.1 Medical Emergency –
   Alpha Royal/Azamara)
   RCCL Shipboard Performance Appraisal 3.0 Stripes and above for       GR000666 – GR000669
   Joao Pereira
   RCCL Shipboard Performance Appraisal 3.0 Stripes and above for       GR000670 – GR000674
   Michiel A. Etsebeth
   RCCL Passenger and Visitor Search with Exportable Data Sheets        GR000675-GR000680

          h. The ship’s physician and all shipboard medical personnel who worked onboard the
             Harmony of the Seas during the subject cruise, including but not limited to Dr. Joao
             Pereira, Nurse Mary Bremner and the shipboard Medical Secretary, were all
             employees of the Defendant RCCL acting within the scope of their employment while
             rendering treatment to Richard Burgess on February 21, 2019.

   5. Issues of fact which remain to be litigated at trial:

          a. Negligence of the Defendant, ROYAL CARIBBEAN CRUISES.

                   (1) Whether Defendant is liable for negligent medical treatment because the
                       physician is an employee;

                   (2) Whether Defendant is liable for negligent medical treatment because the
                       physician is an apparent agent of the cruise line;


                   (3) Whether the Defendant is liable for failure to arrange for emergency
                       transport to the closest medical facility.

          b. Comparative Negligence of the Plaintiff, RICHARD BURGESS (proposed by
             Defendant only).




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          c. Causation of Plaintiff’s alleged injuries and damages.


          d. Whether and to what extent Royal’s alleged negligence caused non-economic
             damages to the Plaintiff, which include, pain, suffering, disability, physical
             impairment, scarring, disfigurement, mental anguish, inconvenience, and loss of
             capacity for the enjoyment of life.

          e. Whether and to what extent Royal’s alleged negligence caused economic damages to
             the Plaintiff, which includes past and future medical expenses, lost wages or loss of
             earning capacity.

   6. Issues of law on which there is agreement:

          a. ROYAL CARIBBEAN CRUISES owed Plaintiff a duty of reasonable care under the
             circumstances.

          b. ROYAL CARIBBEAN CRUISES is vicariously liable for the acts and omissions of
             its shipboard medical personnel in their treatment of Richard Burgess during the
             subject cruise.

          c. Under federal maritime law, joint tortfeasors are each jointly and severally liable for
             100% of the Plaintiff’s damages, if any. Accordingly, to the extent a jury finds Royal
             liable for Plaintiff’s injuries, Royal is responsible for the entire amount of any
             judgment, minus any percentage of liability the jury assigns to the Plaintiff.


   7. Issues of law which remain for determination by the Court: The Plaintiff proposes

      diversity of citizenship.

   8. Each Party’s List of Trial Exhibits :           See Docket Entries 164-1 (Plaintiff), 164-3

      (Defendant)

   9. Each Party’s List of Trial Witnesses :          See Docket Entries 164-2 (Plaintiff), 164-3

      (Defendant)

   10. Estimated trial time : 5 Days

   11. Attorney’s fees:

          a. There is no claim for attorney’s fees.




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   Dated: June 4, 2023



   Respectfully submitted,

   BY: Sarah A. Lobel                 BY: Cooper Jarnagin
   Sarah A. Lobel, Esq. (FBN 88716)   Cooper Jarnagin, Esq. (FBN 0617059)
   slobel@hickeylawfirm.com           Cooper.Jarnagin@gray-robinson.com
   HICKEY LAW FIRM, P.A.              GRAY ROBINSON, P.A.
   1401 Brickell Avenue, Suite 510    515 North Flagler Drive, Suite 650
   Miami, FL 33131-3504               West Palm Beach, FL 33401
   Telephone: (305) 371-8000          Telephone: (561) 268-5727
   Facsimile: (305) 371-3542          Facsimile: (561) 268-5745
   Counsel for Plaintiff              Counsel for Defendant




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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 4, 2023 I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

   to receive electronically Notices of Filing.

                                                  BY: /s/ Cooper Jarnagin




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                                           SERVICE LIST

                        Richard Burgess v. Royal Caribbean Cruises LTD.
                      United States District Court, Southern District of Florida
                             CASE NO.: 1:20-cv-20687-Otazo Reyes

   John H. Hickey, Esq. (FBN 305081)            Michael J. Drahos, Esq. (FBN 0617059)
   hickey@hickeylawfirm.com                     Michael.drahos@gray-robinson.com
   federalcourtfilings@hickeylawfirm.com        Lilia.parker@gray-robinson.com
   Sarah A. Lobel, Esq. (FBN 88716)             W. Cooper Jarnagin, Esq. (FBN 117767)
   slobel@hickeylawfirm.com                     Cooper.jarnagin@gray-robinson.com
   dmartinez@hickeylawfirm.com                  GRAY ROBINSON, P.A.
   HICKEY LAW FIRM, P.A.                        515 North Flagler Drive, Suite 650
   1401 Brickell Avenue, Suite 510              West Palm Beach, FL 33401
   Miami, FL 33131-3504                         Telephone: (561) 268-5727
   Telephone: (305) 371-8000                    Fax: (561) 268-5745rginsberg@rccl.com
   Facsimile: (305) 371-3542                    Attorneys for Defendant
   Attorneys for Plaintiff




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